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                         UNITED STATES DISTRICT COURT
  13
                        CENTRAL DISTRICT OF CALIFORNIA
  14
  15 MICHAEL GRECCO                                Case No. 2:24-CV-04837-FLA-MAR

  16 PRODUCTIONS, INC.,                            DEFENDANT’S NOTICE OF
                                                   MOTION AND MOTION TO
  17         Plaintiff,                            DISMISS AMENDED COMPLAINT;
                                                   MEMORANDUM OF POINTS AND
  18 v.                                            AUTHORITIES IN SUPPORT
                                                   THEREOF
  19 TIKTOK INC.,
                                                   Filed concurrently with:
  20              Defendant.
                                                   (1) Declaration of J. Michael Keyes; and
                                                   (2) [Proposed] Order
  21
  22                                               Hon. Fernando L. Aenlle-Rocha
  23                                               Date: October 4, 2024
                                                   Time: 1:30 p.m.
  24                                               Courtroom: 6B
  25
                                                   Amended Complaint filed:
  26                                               August 15, 2024
  27
  28
       DEFENDANT’S NOTICE OF MOTION          -1-
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   1        PLEASE TAKE NOTICE that on October 4, 2024 at 1:30PM, or as soon
   2 thereafter as this matter may be heard, before the Honorable Fernando L. Aenlle-
   3 Rocha in Courtroom 6B of the United States District Court for the Central District of
   4 California, located at 350 West 1st Street, Los Angeles, California 90012, Defendant
   5 TikTok Inc. (“Defendant” or “TTI”) will, and hereby does, move the Court for an
   6 Order dismissing Plaintiff Michael Grecco Productions, Inc.’s (“Plaintiff” or
   7 “MGP”) Amended Complaint pursuant to Federal Rule of Civil Procedure 12(b)(6).
   8        This Motion is based on this Notice of Motion, the following Memorandum of
   9 Points and Authorities (“Memorandum”), the Amended Complaint (Dkt. 23) and its
  10 exhibits, the concurrently filed Declaration of J. Michael Keyes (“Keyes Decl.”) and
  11 [Proposed] Order, the arguments of counsel, and all other materials which may
  12 properly come before the Court at or before the hearing on this Motion.
  13        By way of this Motion and the supporting Memorandum, Defendant will show
  14 that Plaintiff has not and cannot state plausible claims for direct infringement,
  15 vicarious infringement, or contributory infringement by Defendant under the
  16 Copyright Act.
  17
  18        Local Rule 7-3 Certification. This motion is made following the conference
  19 of counsel pursuant to Local Rule 7-3 and the Court’s Initial Standing Order
  20 (Dkt. 10), which took place on July 29, 2024 via video conference. Keyes Decl. ¶ 3.
  21 The Parties were unable to resolve the disputes addressed in Defendant’s
  22 Memorandum. Id. ¶ 8.
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   1 Dated: August 29, 2024                DORSEY & WHITNEY LLP
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   1      MEMORANDUM OF POINTS AND AUTHORITIES IN SUPPORT OF
   2               DEFENDANT’S MOTION TO DISMISS

   3 I.      INTRODUCTION
   4         Plaintiff Michael Grecco Productions, Inc. (“Plaintiff” or “MGP”) allegedly
   5 owns copyrighted photographs. Plaintiff sued TikTok Inc. (“Defendant” or “TTI”),
   6 asserting claims for direct, vicarious, and contributory copyright infringement of
   7 Plaintiff’s photos. Plaintiff has not alleged facts to plausibly support any theory of
   8 infringement by TTI. The threadbare and conclusory allegations are demonstrably
   9 deficient for numerous reasons under controlling case law.
  10         First, Plaintiff’s direct infringement claim fails because the Amended
  11 Complaint contains no allegations that TTI engaged in volitional conduct, a legal and
  12 factual predicate to direct liability under the Copyright Act. To survive a motion to
  13 dismiss, Plaintiff must allege that Defendant—not its third-party users—engaged in
  14 acts that directly caused the infringement. The Amended Complaint does the exact
  15 opposite, making it clear that it was TTI’s users who “caused each photograph
  16 comprising the Work to be displayed/published.” Id. ¶ 60. Plaintiff has not, and
  17 cannot, plausibly allege that TTI was the direct cause of the alleged infringement.
  18 Plaintiff’s direct infringement claims should be dismissed with prejudice.
  19         Second, Plaintiff’s claim for vicarious infringement is also doomed. It fails to
  20 allege a single fact that Defendant derives any financial benefit from the specific acts
  21 of alleged direct infringement underlying this claim. It is not enough that these
  22 allegedly infringing videos may be on TikTok. The law requires more. This claim
  23 should be dismissed with prejudice.
  24         Third, Plaintiff’s claim for contributory infringement fails because the
  25 Amended Complaint does nothing more than recite the elements of the cause of
  26 action. Plaintiff’s conclusory allegations are insufficient to plead that Defendant had
  27 knowledge of the specific acts of alleged direct infringement or materially
  28 contributed to them in any way. This claim should also be dismissed.

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   1 II.     FACTUAL BACKGROUND
   2         Plaintiff filed its Complaint against TTI on June 7, 2024. Dkt. 1. Following a
   3 meet and confer between the parties, Plaintiff filed an Amended Complaint on
   4 August 15, 2024. 1 Dkt. 23. The Amended Complaint contains one Count for
   5 copyright infringement and advances three theories for liability: direct infringement,
   6 vicarious infringement, and contributory infringement. Id. ¶¶ 65-77. The Amended
   7 Complaint contains the following factual allegations.
   8         A.    Plaintiff, its Business, and its Copyrights
   9         Plaintiff is “a celebrity photography agency” owned and operated by
  10 photojournalist Michael Grecco. Id. ¶ 6. Mr. Grecco photographs musicians, actors,
  11 athletes, and other celebrities.    Id.   Mr. Grecco purportedly owns twenty-two
  12 photographs that are the subject of the Amended Complaint, which Plaintiff refers to
  13 collectively as “the Work.” Id. ¶ 56. The twenty-two photographs that comprise the
  14 Work are purportedly registered under twelve copyright registrations. Id. ¶ 10,
  15 Dkt. 23-1 through Dkt. 23-13.
  16         B.    Defendant and its Alleged Infringement
  17         The Amended Complaint alleges that “[o]n multiple dates after each
  18 photograph comprising the Work was registered, one or more of Defendant’s users
  19 caused each photograph comprising the Work to be displayed/published on
  20 Defendant’s social media app/website platform.” Dkt. 23 ¶ 60. Defendant attaches
  21 as Exhibit N to the Amended Complaint screenshots of TTI’s users’ content that is
  22 alleged to infringe Plaintiff’s copyrights. Id. ¶ 61, Dkt. 23-14.
  23
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  25  During the meet and confer, counsel for Parties discussed several issues with
     Plaintiff’s original Complaint, including whether Plaintiff owned copyrights
  26
     covering each photograph at issue and the deficiencies in Plaintiff’s allegations of
  27 direct, vicarious, and contributory infringement. Keyes Decl. ¶ 4. In the Amended
     Complaint, Plaintiff left unchanged the allegations relating to direct, vicarious, and
  28
     contributory infringement. Id. ¶ 7.
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   1         The Amended Complaint goes on to allege that “[f]ollowing discovery of the
   2 photographs comprising the Work on Defendant’s website/social media app, Plaintiff
   3 fully complied with 17 U.S.C. § 512 by sending multiple [DMCA] takedown notices
   4 to Defendant through its designated agent.” Dkt. 23 ¶ 62. The Amended Complaint
   5 further alleges that “[n]otwithstanding Plaintiff’s multiple attempts (over a period of
   6 months) to get Defendant to take down the unauthorized use of the Work, Defendant
   7 failed and/or refused to remove the Work from its website/social media app.” Id.
   8 ¶ 63.
   9 III.    LAW AND ARGUMENT
  10         “To survive a motion to dismiss, a complaint must contain sufficient factual
  11 matter, accepted as true, to ‘state a claim to relief that is plausible on its face.’”
  12 Ashcroft v. Iqbal, 556 U.S. 662, 678 (2009) (quoting Bell Atl. Corp. v. Twombly, 550
  13 U.S. 544, 570 (2007)). “A claim has facial plausibility when the plaintiff pleads
  14 factual content that allows the court to draw the reasonable inference that the
  15 defendant is liable for the misconduct alleged.” Id. (emphasis added). The general
  16 rule that a court must accept as true all of the factual allegations in a complaint does
  17 not apply to “‘naked assertions’ devoid of ‘further factual enhancement,’”
  18 “[t]hreadbare recitals of the elements of a cause of action, supported by mere
  19 conclusory statements,” or “legal conclusion[s] couched as . . . factual allegation[s].”
  20 Id. (quoting Twombly, 550 U.S. at 555-57). A complaint that relies on “labels and
  21 conclusions” or “a formulaic recitation of the elements of a cause of action” is
  22 insufficient to survive a motion to dismiss. Id.
  23         A.    Plaintiff has Not Alleged—And Cannot Allege—Any
                   Volitional Conduct by TTI to Support Its Direct Copyright
  24               Infringement Theory
  25
             To prove direct copyright infringement by TTI, Plaintiff must show that TTI
  26
       violated at least one of the exclusive rights listed in 17 U.S.C. § 106. VHT, Inc. v.
  27
       Zillow Grp., Inc., 918 F.3d 723, 731 (9th Cir. 2019) (citing A&M Records, Inc. v.
  28

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    1 Napster, Inc., 239 F.3d 1004, 1013 (9th Cir. 2001)). Plaintiff “must also establish
    2 causation, which is commonly referred to as the ‘volitional-conduct requirement.’”
    3 Id. (citing Perfect 10, Inc. v. Giganews, Inc., 847 F.3d 657, 666 (9th Cir. 2017)). The
    4 word “volitional” in this context “simply stands for the unremarkable proposition that
    5 proximate causation historically underlines copyright infringement liability no less
    6 than other torts,” as a result, “direct liability must be premised on conduct that can
    7 reasonably be described as the direct cause of the infringement.” Giganews, 847 F.3d
    8 at 666 (citations omitted).
    9         In cases involving online service providers like TTI, the Ninth Circuit tells us
   10 that the volitional-conduct requirement “takes on greater importance.” Zillow, 918
   11 F.3d at 731. To plausibly allege volitional conduct by TTI, the Amended Complaint
   12 must do more than allege that TTI was a passive participant in its user’s acts of
   13 infringement. Id. at 732 (“[C]opying, storage, and transmission of copyrighted
   14 materials, when instigated by others, does not render an [online service provider]
   15 strictly liable for copyright infringement.”) (emphasis added). Rather, Plaintiff must
   16 sufficiently allege that TTI engaged in “actual infringing conduct with a nexus
   17 sufficiently close and causal to the illegal copying.” Id. at 732 (quoting CoStar Grp.,
   18 Inc. v. LoopNet, Inc., 373 F.3d 544, 550 (4th Cir. 2004)). This requires “some
   19 evidence showing [the alleged infringer] exercised control (other than by general
   20 operation of [its website]); selected any material for upload, download, transmission,
   21 or storage; or instigated any copying, storage, or distribution of its photos.” Id. at
   22 732 (quoting Giganews, 847 F.3d at 666, 670) (alterations in original).
   23         Here, TTI is an online service provider. See Winter v. Facebook, Inc., No.
   24 4:21-CV-01046-JAR, 2021 U.S. Dist. LEXIS 224836, at *8 (E.D. Mo. Nov. 22,
   25 2021) (characterizing TTI as an “interactive computer service” provider); Couture v.
   26 Noshirvan, No. 2:23-CV-340-SPC-KCD, 2023 U.S. Dist. LEXIS 213071, at *4
   27 (M.D. Fl. Nov. 30, 2023) (same). Plaintiff has failed to allege any volitional conduct
   28 by TTI.     Plaintiff merely alleges that “Defendant reproduced, distributed, and

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    1 publicly displayed the Work without authorization from Plaintiff.” Dkt. 1 ¶ 69. This
    2 is exactly the type of conclusory, naked assertion that is insufficient to survive a
    3 motion to dismiss. Iqbal, 556 U.S. at 678. Further, this conclusory allegation—that
    4 merely recites an element of any copyright infringement claim—is not supported by
    5 any facts to suggest that TTI caused the alleged reproduction, distribution or display
    6 of Plaintiff’s photographs. To the contrary, the Amended Complaint is clear that
    7 “Defendant’s users caused each photograph comprising the Work to be
    8 displayed/published” on TikTok. Dkt. 23 ¶ 60 (emphasis added). That it was TTI’s
    9 users—not TTI itself—that caused the alleged infringement is further shown by
   10 Exhibit N the Amended Complaint, which allegedly includes “screenshots of
   11 Defendant’s website, displaying the copyrighted Work.” Id. ¶ 60, Dkt. 23-14. Each
   12 screenshot clearly shows user profiles and user posts residing on pages maintained
   13 by those users. Dkt. 23-14 at 2-134; Stross v. Twitter, Inc., No. 2:21-cv-8360-SVW,
   14 2022 U.S. Dist. LEXIS 100750, at *9 (C.D. Cal. Feb. 28, 2022) (“Though Plaintiff
   15 attaches a number of screenshots of Infringing Uses . . . these images only show users
   16 who themselves posted Plaintiff’s images to their personal profiles.”).
   17         As in Zillow, “[t]he only display that occurred was triggered by the user” and
   18 TTI cannot be liable for direct infringement. Zillow, 918 F.3d at 737. Plaintiff’s
   19 claim of direct infringement must be dismissed. See Giganews, 847 F.3d at 668
   20 (affirming dismissal where Plaintiff did not “demonstrate that Giganews—as
   21 opposed to the user who called up the images—caused the images to be displayed”);
   22 see also Twitter, 2022 U.S. Dist. LEXIS 100750, at *7 (dismissing claims of direct
   23 infringement because the complaint “does not assert that Twitter itself uploaded any
   24 of Plaintiff’s photographs or actively displayed or republished them”) (emphasis
   25 added).
   26         Plaintiff’s allegation that “Defendant hosts user-submitted videos through”
   27 TikTok is similarly insufficient. Dkt. 23 ¶ 59 (emphasis added). TTI’s “general
   28 operation” of the platform used by others to infringe is not enough to allege that TTI

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    1 directly caused the infringement. Zillow, 918 F.3d at 732; see also Fox Broad. Co.,
    2 Inc. v. Dish Network LLC., 747 F.3d 1060, 1067 (9th Cir. 2014) (“[O]perating a
    3 system used to make copies at the user’s command does not mean that the system
    4 operator, rather than the user, caused copies to be made.”); Stross v. Meta Platforms,
    5 Inc., No. 2:21-cv-08023-MCS-AS, 2022 U.S. Dist. LEXIS 100689, at *6-7 (C.D.
    6 Cal. Apr. 6, 2022) (“[H]osting of images without direct involvement in presenting
    7 specific images to specific users does not constitute direct infringement.”).
    8         Plaintiff’s inability to establish volitional conduct renders amendment of the
    9 Amended Complaint futile. See Harrison v. Facebook, Inc., No. C 19-01547 JSW,
   10 2019 U.S. Dist. LEXIS 234962, at *5 (N.D. Cal. July 2, 2019) (dismissing direct
   11 infringement claim with prejudice because “it appears Plaintiff cannot allege that
   12 Facebook has done anything but serve as a passive host to content uploaded and
   13 created” by users), aff’d, 816 F. App’x 228 (9th Cir. 2020); see also Rosen v. eBay,
   14 Inc., No. CV 16-9183-MWF (Ex), 2018 U.S. Dist. LEXIS 223720, at *15 (C.D. Cal.
   15 Apr. 4, 2018) (dismissing direct infringement claim with prejudice “to the extent
   16 Plaintiff’s copyright infringement claims is based on Defendant’s direct infringement
   17 of Plaintiff’s copyright via the activities of Defendant’s users”). Consequently,
   18 Plaintiff’s direct infringement claim should be dismissed without leave to amend.
   19         B.     Plaintiff has Not Alleged—And Cannot Allege—Facts to
                     Support its Vicarious Copyright Infringement Theory
   20
              To survive dismissal of its claim for vicarious infringement, Plaintiff must
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        plausibly allege that TTI “has (1) the right and ability to supervise the infringing
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        conduct and (2) a direct financial interest in the infringing activity.” Giganews, 847
   23
        F.3d at 673 (citation omitted). Plaintiff fails to allege facts plausibly supporting
   24
        either element.
   25
              As to the first element, the “control prong,” the Amended Complaint merely
   26
        recites the element: “Defendant has the right and ability to control the infringing acts
   27
        of its users yet declined or failed to stop its users from engaging in [their] infringing
   28

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    1 activity.” Dkt. 23 ¶ 59. “Plaintiff’s [Amended Complaint] simply parrots the
    2 elements of the [control prong] without providing any factual allegations that would
    3 make such a claim plausible. The absence of such allegations requires dismissal.”
    4 Nat’l Photo Grp., LLC v. Allvoices, Inc., No. C-13-03627 JSC, 2014 U.S. Dist.
    5 LEXIS 9190, at *24-25 (N.D. Cal. Jan. 24, 2014) (citing Iqbal, 556 U.S. at 678).
    6         To properly plead this element, Plaintiff would have to present facts plausibly
    7 alleging that TTI “has both a legal right to stop or limit the directly infringing
    8 conduct, as well as the practical ability to do so.” Amazon.com, 508 F.3d at 1173.
    9 Even if Plaintiff stretched its threadbare allegations to hint that TTI’s hosting of the
   10 TikTok platform necessarily means it has the requisite control, this is plainly
   11 insufficient. In Zillow, the Ninth Circuit found “there was insufficient evidence that
   12 Zillow had the technical ability to screen out or identify infringing . . . photos among
   13 the many photos that users saved or uploaded daily.” 918 F.3d at 746 (emphasis
   14 added). Similarly, in Amazon.com, the Ninth Circuit found the Google lacked the
   15 practical ability to police infringement because doing so would require it to “analyze
   16 every image on the internet, compare each image to all the copyrighted images that
   17 exist . . . and determine whether a certain image on the web infringes someone’s
   18 copyright.” 508 F.3d at 1174. Plaintiff’s Amended Complaint contains no factual
   19 allegations suggesting that TTI has any greater right or ability to control infringement
   20 than Zillow or Google. For this reason alone, Plaintiff’s claim fails and should be
   21 dismissed with prejudice.
   22         As to the second element, the “essential aspect” is the existence of a “causal
   23 relationship” between the financial benefit to the defendant and the particular
   24 infringing activity at issue. Ellison v. Robertson, 357 F.3d 1072, 1079 (9th Cir.
   25 2004). Here, Plaintiff merely alleges that “Defendant has a direct financial interest
   26 in the profits from the infringing activity. A direct financial interest can involve
   27 increased traffic.” Dkt. 23 ¶ 60. Plaintiff’s Amended Complaint includes zero
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    1 allegations suggesting that TTI directly derived any “profits from the infringing
    2 activity” and this threadbare allegation is plainly insufficient. Iqbal, 556 U.S. at 678.
    3         Plaintiff’s assertion that a financial benefit “can involve increased traffic” is
    4 similarly deficient. It is not enough to allege that “customers were drawn to [TikTok]
    5 to obtain access to infringing material in general” rather, Plaintiff must plead facts
    6 suggesting that “customers were drawn to [TTI’s] services because of the infringing
    7 [content] at issue.” Giganews, 847 F.3d at 673-74; see also Meta Platforms, Inc.,
    8 2022 U.S. Dist. LEXIS 100689, at *8 (dismissing vicarious liability claim where the
    9 complaint alleged that “40% of the traffic” on Facebook related to pages with
   10 “copyright-infringed content” but lacked any allegations that plaintiff’s works were
   11 a draw to Facebook’s users). Plaintiff fails to allege, nor could it, that the allegedly
   12 infringing materials led to any increase in traffic to TikTok, resulted in an increase
   13 in TTI’s user base, or resulted in any other benefit to TTI. See Ellison, 357 F.3d at
   14 1079 (“The record lacks evidence that AOL attracted or retained subscriptions
   15 because of the infringement or lost subscriptions because of AOL’s eventual
   16 obstruction of the infringement . . . Therefore, Ellison’s claim of vicarious copyright
   17 infringement fails.”); Meta Platforms, Inc., 2022 U.S. Dist. LEXIS 100689, at *8-9
   18 (dismissing vicarious liability claim where the allegations in the complaint were “not
   19 sufficient to show that Defendant drew users to Facebook because of Plaintiff’s
   20 infringed works”).
   21         Plaintiff’s inability to establish the requisite control or direct financial interest
   22 renders amendment of the Amended Complaint futile. See Kilina Am. Inc. v. Bonded
   23 Apparel, Inc., No. CV 19-4018-PSG-SK, 2019 U.S. Dist. LEXIS 228186, at *6-7
   24 (C.D. Cal. Nov. 19, 2019) (dismissing vicarious copyright infringement claim
   25 without leave to amend where the complaint included only “threadbare recitals of the
   26 elements”). Plaintiff’s vicarious infringement theory is inadequately pled and should
   27 be dismissed with prejudice.
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    1         C.    Plaintiff Has Not Plausibly Alleged Facts to Support its
    2               Contributory Copyright Infringement Theory

    3         A plaintiff asserting a claim for contributory copyright infringement must

    4 allege: (1) direct infringement by a third party; (2) the defendant’s knowledge of that
    5 third party’s direct infringement; and (3) that the defendant “either (a) materially
    6 contribute[d] to or (b) induce[d] that infringement.” Giganews, 847 F.3d at 670
    7 (quoting Perfect 10, Inc. v. Visa Int’l Serv. Ass’n, 494 F.3d 788, 794-95 (9th Cir.
    8 2007)). The knowledge element of contributory infringement requires more than
    9 “generalized knowledge . . . of the possibility of infringement.” Luvdarts, LLC v.
   10 AT&T Mobility, LLC, 710 F.3d 1068, 1072 (9th Cir. 2013). Rather, Plaintiff must
   11 sufficiently allege that TTI had “actual knowledge that specific infringing material is
   12 available using its [TikTok platform].” Giganews, 847 F.3d at 671 (quoting
   13 Perfect 10, Inc. v. Amazon.com, 508 F.3d 1146, 1172 (9th Cir. 2007)). That is,
   14 Plaintiff must show that TTI had “actual knowledge of specific acts of infringement.”
   15 Luvdarts, 710 F.3d at 1072 (citation omitted).
   16         The Amended Complaint alleges, in only the most conclusory terms, that

   17 Plaintiff sent DMCA-compliant takedown notices to Defendant, Dkt. 23 ¶ 62, and
   18 that Defendant “failed to remove the infringements while having actual knowledge
   19 that material was copyright protected.” Id. ¶ 64. These allegations are threadbare
   20 legal conclusions unsupported by any facts in the Amended Complaint and should
   21 not be taken as true. See Iqbal, 556 U.S. at 678 (“legal conclusion[s] couched . . . as
   22 factual allegations” and “naked assertions devoid of further factual enhancement,”
   23 should not be taken as true) (citations omitted); Luvdarts, 710 F.3d at 1072-73.
   24 Further, Plaintiff’s allegation that Defendant had “actual notice” and failed to act is
   25 a mere recitation of the elements for a contributory infringement claim. This is
   26 shown by Plaintiff’s Amended Complaint, in which it recites the elements for a
   27 contributory infringement claim, Dkt. 23 ¶ 63, immediately followed by allegations
   28 that parrot those elements. Id. ¶ 64 (alleging “Defendant caused or materially

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    1 contributed to its user’s infringing activity” and that Defendant had “actual
    2 knowledge the material was copyright protected”).
    3         Plaintiff failed to plead any facts relating to when the takedown notices were
    4 allegedly sent to Defendant; failed to plead any facts regarding when the infringement
    5 occurred; failed to plead any facts regarding what information was included in the
    6 takedown notices; and failed to plead any other facts to suggest that the information
    7 therein was sufficient to put Defendant on notice of each of the specific acts of
    8 infringement shown in Exhibit N to the Amended Complaint. Plaintiff’s conclusory
    9 allegations, in the absence of these key facts, are insufficient. Luvdarts, 710 F.3d at
   10 1072; see also Epikhin v. Game Insight N. Am., No. 14-CV-04383-LHK, 2015 U.S.
   11 Dist. LEXIS 66188, at *13-14 (N.D. Cal. May 20, 2015) (“threadbare assertions that
   12 [defendant] had knowledge of the infringing acts relating to Plaintiff’s copyrighted
   13 works” are insufficient); see YZ Prods. v. Redbubble, Inc., 545 F. Supp. 3d 756, 764
   14 (N.D. Cal. 2021) (dismissing contributory infringement claims where the complaint
   15 only contained conclusory allegations that “Plaintiff notified Defendant of its
   16 infringement” and that “Defendant had specific knowledge of the Infringing
   17 Goods”).
   18         Plaintiff’s contributory infringement claim should be dismissed for the
   19 additional reasons that Plaintiff fails to allege any “material contribution” by TTI to
   20 the alleged direct infringement by its third-party users. In the internet context, a
   21 plaintiff must allege that a defendant “can take simple measures to prevent further
   22 damage to copyrighted works, yet continues to provide access to infringing works.”
   23 Perfect 10, Inc. v. Amazon.com, Inc., 508 F.3d 1146, 1172 (9th Cir. 2007) (citation
   24 omitted). Simple measures are the standard because Congress has “place[d] the
   25 burden of policing copyright infringement—identifying the potentially infringing
   26 material and adequately documenting infringement—squarely on the owners of the
   27 copyright.” Perfect 10, Inc. v. CCBill LLC, 488 F.3d 1102, 1113 (9th Cir. 2007).
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    1        Here, the Amended Complaint is devoid of any measures that TTI allegedly
    2 could have taken to address the infringement. See Giganews, 847 F.3d at 671
    3 (plaintiff’s submission of takedown demands did not provide defendant “simple
    4 measures” for removing the photographs because plaintiff’s notices did not include
    5 machine-readable information for the photographs); Nat'l Photo Grp., 2014 U.S.
    6 Dist. LEXIS 9190, at *21 (dismissing contributory infringement claim where the
    7 complaint “fails to allege what ‘simple measures’ Defendant failed to take to prevent
    8 further damage to the copyrighted photographs”).
    9        In sum, the Amended Complaint fails to plausibly allege that Plaintiff provided
   10 TTI with actual knowledge of specific instances of alleged direct infringement and
   11 Plaintiff has not plausibly alleged that TTI could have taken “simple measures” to
   12 remove the alleged infringing content posted by its users. Plaintiff’s contributory
   13 infringement claim should be dismissed.
   14 IV.    CONCLUSION
   15        For the foregoing reasons, TTI respectfully asks that the Court grant this
   16 Motion and dismiss Plaintiff’s Amended Complaint.
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    1                 L.R. 11-6.2. CERTIFICATE OF COMPLIANCE
    2        The undersigned, counsel of record for Defendant TikTok Inc. certifies that
    3 this brief contains 3364 words, which complies with the word limit of L.R. 11-6.
    4
        Dated: August 29, 2024                        /s/ J. Michael Keyes
    5                                                 J. Michael Keyes, SBN 262281
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    1                           CERTIFICATE OF SERVICE
    2        I hereby certify that on August 29, 2024, a true and correct copy of the
    3 foregoing was filed electronically using the Court’s CM/ECF system, which shall
    4 send notification of such filing to all counsel of record. Any counsel of record who
    5 has not consented to electronic service through the Court’s CM/ECF system will be
    6 served by electronic mail.
    7
    8                                                /s/ J. Michael Keyes
                                                     J. Michael Keyes, SBN 262281
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